Case 2:20-cv-00647-DBB-JCB Document 64-1 Filed 01/17/24 PageID.654 Page 1 of 2




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                        THE UNITED STATES DISTRICT COURT
                                DISTRICT OF UTAH

  RUSSELL GREER,                                   DECLARATION OF
                                                   JOSHUA MOON
        Plaintiff,
  v.                                               Case No. 2:20-cv-00647-DBB


  JOSHUA MOON, et al.                              District Judge David Barlow
                                                   Magistrate Judge Cecilia M. Romero
        Defendant.



        NOW COMES Joshua Moon, and states as follows:

        1. I am an adult and competent to testify to the matters set forth herein.

        2. I am a domiciliary of the State of Florida. Although I left Florida and went to

            Europe several years ago, I maintain my domicile in Florida, am registered

            to vote in Florida, and have a Florida driver’s license. I have never taken up

            a permanent residence in any other state. My domicile is located in

            Escambia County, which is in jurisdiction of the U.S. District Court for the

            Northern District of Florida.

        3. I am the sole member of Lolcow, LLC (d/b/a Kiwi Farms). Lolcow, LLC is

            organized under the laws of the State of West Virginia.

        4. Further I say nothing.
Case 2:20-cv-00647-DBB-JCB Document 64-1 Filed 01/17/24 PageID.655 Page 2 of 2




 I declare under penalty of perjury under the laws of the United States of America that
 the foregoing is true and correct.

 Executed on: January 17, 2024




                                 _____________________________
                                  Joshua Moon
